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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                               WACO DIVISON

 LATINOS FOR TRUMP, BLACKS                 §
 FOR TRUMP, JOSHUA MACIAS,                 §
 M.S., B.G., J.B., J.J.,                   §
                                           §
       Plaintiffs.                         §
                                           §
                                           §
 v.                                        §     CIVIL ACTION NO. 6:21-CV-43
                                           §
 PETE SESSIONS, MITCH                      §
 McCONNELL, NANCY PELOSI,                  §
 MARK ZUCKERBERG, CHUCK                    §
 SCHUMER, ALEXANDRIA                       §
 OCASIO-CORTEZ, BRAD                       §
 RAFFENSPERGER, ALL                        §
 MEMBERS OF THE 117TH U.S.                 §
 CONGRESS, et al.,                         §     JURY TRIAL REQUESTED

       Defendants.

 PAUL M. DAVIS’S MOTION TO WITHDRAW AS COUNSEL FOR LATINOS
          FOR TRUMP, BLACKS FOR TRUMP, B.G., AND M.S.

      1.     Due to Mr. Davis’s refusal to implement the strategy advocated for by

Ms. SoRelle, who has a long history working with Plaintiffs Latinos for Trump, Blacks

for Trump, Joshua Macias, B.G., and M.S. (the “SoRelle Plaintiffs”), these Plaintiffs

have fired Mr. Davis as their counsel in this case. Mr. Davis, by now used to being

fired for standing up for his principles, is saddened by the decisions of these Plaintiffs

to pursue what he believes is not a sound strategy, since he was very proud to

represent the same.

      2.     Nonetheless, the decisions of the clients must be respected, and Mr.

Davis understands these clients loyalties to Ms. SoRelle.
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           3.       Accordingly, Mr. Davis files this motion to withdraw as counsel for the

SoRelle Plaintiffs. The SoRelle Plaintiffs also include Plaintiffs R.C., T.L., A.B., R.R.,

A.P., J.G., M.B., E.R., E.R.(2), C.H., I.M., A.L., C.S., H.D., M.T., and I.M. for which

Mr. Davis also motions to withdraw as counsel.

           4.       As to the remaining Plaintiffs, J.B. (“Jeremy Bravo”), J.J., P.P., R.D.,

and H.H. (the “Davis Plaintiffs”), all wish to stick with Mr. Davis’s strategy as do both

of the expert witnesses. Because the Davis Plaintiffs’ strategy and interests are no

longer aligned with the SoRelle Plaintiffs, and, because the Davis Plaintiffs believe

the SoRelle Plaintiffs’ claims they apparently wish to bring in to the case will be

detrimental to the Davis Plaintiffs’ claims, the Davis Plaintiffs will be filing a

voluntary dismissal of their claims contemporaneously herewith, and be refiling their

claims in a separate lawsuit.

           5.       Since the Plaintiffs for whom Mr. Davis wishes to withdraw as counsel

already are represented by Ms. SoRelle, who is already counsel of record in this case,

it appears from Local Rule AT-3 nothing further is needed to complete the motion for

withdrawal.

           WHEREFORE, Paul M. Davis, hereby requests the Court grant his motion to

withdraw as counsel of record for the SoRelle Plaintiffs.


                                                        /s/ Paul M. Davis
                                                        Paul M. Davis
                                                        Texas Bar No. 24078401
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    Certificate of Formation submitted to Texas Secretary of State, filing pending.
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                                       ATTORNEY FOR DAVIS PLAINTIFFS


                           CERTIFICATE OF SERVICE

      I hereby certify that the SoRelle Plaintiffs have been served with the foregoing

document via the Court’s ECF filing system on their counsel of record, Kellye SoRelle,

on February 19, 2021.

                                       /s/ Paul M. Davis
                                       Paul M. Davis
